        Case 2:19-bk-14989-WB                   Doc 693 Filed 03/19/20 Entered 03/19/20 10:47:26                             Desc
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                                                     UNITED STATES DEPARTMENT OF JUSTICE
                                                     OFFICE OF THE UNITED STATES TRUSTEE
                                                        CENTRAL DISTRICT OF CALIFORNIA

In Re:                                                                   CHAPTER 11 (BUSINESS)
    Scoobeez                                                             Case Number:                                     2:19-BK-14989-WB



                                                                         Operating Report Number:                                       10
                                                         Debtor(s)       For the Month Ending:                         2/1/2020 to 2/29/2020

                                                      I. CASH RECEIPTS AND DISBURSEMENTS
                                                             A. (GENERAL ACCOUNT*)

   BEGINNING BALANCE AS OF PETITION DATE                                                                                            697,628

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                          35,347,393

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                               33,982,881
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                              2,062,140

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing                                                                     3,115,196
   Accounts Receivable - Pre-filing
   General Sales
   Other (Specify)              Purchased service refund (Spectrum)                                            248




   TOTAL RECEIPTS THIS PERIOD:                                                                                                     3,115,444

5. BALANCE:                                                                                                                        5,177,584

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)                                                         1,934,646
   Disbursements (from page 2)                                                                           1,224,712

   TOTAL DISBURSEMENTS THIS PERIOD:**                                                                                              3,159,358

7. ENDING BALANCE:                                                                                                                 2,018,226

8. General Account Number(s):                                         ******3680


                                                                      DIP Operating & Operating (Legacy) Wells Fargo
                                                                      3200 Foothill, Blvd.
   Depository Name & Location:                                        La Crescenta, CA 91214

* All receipts must be deposited into the general account.

**This amount should be the same as the total from page 2.




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                                          TOTAL DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD

                    Check                                                                                        *Amount      **Amount
Date mm/dd/yyyy    Number                Payee or DIP account                            Purpose                Transferred   Disbursed      Amount
   02/01/2020       1906                  Garo Dekirmendjian                          Rent Expenses                           10,500.00     10,500.00
   02/03/2020     Debit Card             Adobe Creative Cloud                      Dues & Subscriptions                          33.98         33.98
   02/03/2020     Debit Card             Amazon Prime on line                        Office Expenses                            153.87        153.87
   02/03/2020     Debit Card             Amazon Prime on line                        Office Expenses                             0.52          0.52
   02/03/2020     Debit Card                 Google Service                        Dues & Subscriptions                        2,336.55      2,336.55
   02/03/2020       1909                 Grobstein Teeple, LLP                       BK Related Fees                           2,500.00      2,500.00
   02/03/2020     Debit Card                      Indeed                          Recruitment Expenses                          170.37        170.37
   02/03/2020     Debit Card                      Indeed                          Recruitment Expenses                          376.10        376.10
   02/03/2020       1908                     Maria Estrada                   Other Expenses(Janitor Expenses)                   900.00        900.00
   02/03/2020     Debit Card                        Offix                            Office Expenses                            510.00        510.00
   02/03/2020       Wire                       PEX Holding                            Fuel Expenses                           30,000.00     30,000.00
   02/03/2020       1907                       SuperVision                      Employee Background Test                         76.50         76.50
   02/03/2020     Debit Card                     Swizznet                          Dues & Subscriptions                         125.98        125.98
   02/03/2020     Debit Card                       Twilio                          Dues & Subscriptions                          40.11         40.11
   02/03/2020     Deduction                Wells Fargo Bank                             Bank Fees                                30.00         30.00
   02/03/2020       Wire                   Wells Fargo Bank                              Payroll                755,691.00                  755,691.00
   02/03/2020       Wire                   Wells Fargo Bank                                 Tax                 253,045.00                  253,045.00
   02/04/2020     Debit Card             Amazon Prime on line                        Office Expenses                             31.93         31.93
   02/04/2020     Debit Card             Amazon Prime on line                        Office Expenses                             15.42         15.42
   02/04/2020        ACH       Combined Group Insurance Services Inc             Workers Compensation                          7,984.00      7,984.00
   02/04/2020       1910                    Implicit Labs Inc                          IT Expenses                            12,200.00     12,200.00
   02/04/2020       Wire                        Innovative                       Workers Compensation                         41,197.95     41,197.95
   02/04/2020     Debit Card                       USPS                       Shipping and delivery expense                      26.35         26.35
   02/04/2020     Deduction                Wells Fargo Bank                             Bank Fees                                30.00         30.00
   02/05/2020       Wire             Hillair Capital Management               Per Cash collateral stipulation                 40,000.00     40,000.00
   02/05/2020     Debit Card                      Indeed                          Recruitment Expenses                          501.70        501.70
   02/05/2020       1911                     Marco Briseno                        Repair & Maintenance                          400.00        400.00
   02/05/2020       1912                    Nadine Miranda                           Travel Expenses                             44.32         44.32
   02/05/2020     Debit Card                  ServerMania                          Dues & Subscriptions                         216.00        216.00
   02/05/2020     Debit Card                       USPS                       Shipping and delivery expense                      7.75          7.75
   02/05/2020     Deduction                Wells Fargo Bank                             Bank Fees                                30.00         30.00
   02/06/2020     Debit Card             Amazon Prime on line                        Office Expenses                             5.00          5.00
   02/06/2020       1913                   Booster Fuels, Inc.                        Fuel Expenses                            2,428.99      2,428.99
   02/06/2020       1914                   Booster Fuels, Inc.                        Fuel Expenses                            1,563.16      1,563.16
   02/06/2020       1915                   Booster Fuels, Inc.                        Fuel Expenses                            3,844.55      3,844.55
   02/06/2020       1916                   Booster Fuels, Inc.                        Fuel Expenses                            4,269.56      4,269.56
   02/06/2020       1917                   Booster Fuels, Inc.                        Fuel Expenses                            5,215.86      5,215.86
   02/06/2020       1918                   Booster Fuels, Inc.                        Fuel Expenses                            2,706.40      2,706.40
   02/06/2020       1919                   Booster Fuels, Inc.                        Fuel Expenses                            4,570.25      4,570.25
   02/06/2020       Wire                   Hertz Corporation                         Vehicle Expenses                         115,396.03    115,396.03
   02/06/2020     Debit Card                  Shutter Stock                        Dues & Subscriptions                         199.00        199.00
   02/06/2020     Deduction                Wells Fargo Bank                             Bank Fees                                30.00         30.00
   02/07/2020     Debit Card             Amazon Prime on line                        Office Expenses                            205.54        205.54
   02/07/2020     Debit Card             Amazon Prime on line                        Office Expenses                            605.60        605.60
   02/07/2020     Debit Card             Amazon Prime on line                        Office Expenses                             94.24         94.24
   02/07/2020       1924                   City of Hawthorne                              Citation                              132.00        132.00
   02/07/2020       1926                   City of Hawthorne                              Citation                              132.00        132.00
   02/07/2020       1923                  City of Los Angeles                             Citation                              424.00        424.00
   02/07/2020       1925     City of Manhattan Beach Processing Center                    Citation                               84.00         84.00
   02/07/2020       1927                City of Redondo Beach                             Citation                              132.00        132.00
   02/07/2020       1922      Occupational Health Centers of California          Workers Compensation                            57.50         57.50
   02/07/2020       1921                Spectrum/La Crescenta                        Utility Expenses                           594.38        594.38
   02/10/2020        ACH               Accurate Background LLC                  Employee Background Test                      10,814.65     10,814.65
   02/10/2020     Debit Card             Amazon Prime on line                        Office Expenses                             15.86         15.86
   02/10/2020     Debit Card             Amazon Prime on line                        Office Expenses                             24.54         24.54
   02/10/2020     Debit Card             Amazon Prime on line                        Office Expenses                             9.78          9.78
   02/10/2020     Debit Card             Amazon Prime on line                        Office Expenses                             8.18          8.18
   02/10/2020     Debit Card             Amazon Prime on line                        Office Expenses                             8.18          8.18
   02/10/2020     Debit Card             Amazon Prime on line                        Office Expenses                             9.00          9.00
   02/10/2020       1931                     AT&T Mobility                            Phone Services                          19,774.03     19,774.03
   02/10/2020       1928                    Athens Services                          Utility Expenses                           174.25        174.25
   02/10/2020       1930             Charter Spectrum - Ft Worth                     Utility Expenses                            44.22         44.22
   02/10/2020       1929           City of Glendale Water & Power                    Utility Expenses                           972.68        972.68
   02/10/2020     Debit Card              City of LA DOT PVB                              Citation                              343.00        343.00
   02/10/2020     Debit Card                      Indeed                          Recruitment Expenses                          500.87        500.87
   02/10/2020     Debit Card                  Onsite Detail                             Van wash                                857.34        857.34
   02/10/2020       Wire                       PEX Holding                            Fuel Expenses                           25,000.00     25,000.00
   02/10/2020     Deduction                Wells Fargo Bank                             Bank Fees                                30.00         30.00
   02/10/2020     Debit Card                  Zip Recruiter                        Dues & Subscriptions                        1,199.00      1,199.00
   02/11/2020       Wire               DW Harrow & Assoc LLC                         BK Related Fees                           3,000.00      3,000.00

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02/11/2020   Debit Card                  ServerMania                        Dues & Subscriptions                        107.10        107.10
02/11/2020   Deduction                Wells Fargo Bank                            Bank Fees                              30.00         30.00
02/12/2020   Debit Card            DNH*GODADDY.COM                          Dues & Subscriptions                         51.14         51.14
02/12/2020     Wire                  Hertz Corporation                        Vehicle Expenses                        77,098.54     77,098.54
02/12/2020     Wire             Hillair Capital Management             Per Cash collateral stipulation                40,000.00     40,000.00
02/12/2020   Debit Card                     Indeed                         Recruitment Expenses                         501.37        501.37
02/12/2020   Debit Card                  Onsite Detail                            Van wash                             1,344.46      1,344.46
02/12/2020   Debit Card                      USPS                      Shipping and delivery expense                     7.75          7.75
02/12/2020   Deduction                Wells Fargo Bank                            Bank Fees                              30.00         30.00
02/12/2020   Deduction                Wells Fargo Bank                            Bank Fees                              30.00         30.00
02/13/2020   Debit Card            Adobe Creative Cloud                     Dues & Subscriptions                         24.99         24.99
02/13/2020     1932                  Booster Fuels, Inc.                        Fuel Expenses                          2,162.21      2,162.21
02/13/2020     1933                  Booster Fuels, Inc.                        Fuel Expenses                          4,579.12      4,579.12
02/13/2020     1934                  Booster Fuels, Inc.                        Fuel Expenses                          1,766.69      1,766.69
02/13/2020     1935                  Booster Fuels, Inc.                        Fuel Expenses                          5,905.68      5,905.68
02/13/2020     1936                  Booster Fuels, Inc.                        Fuel Expenses                          1,010.79      1,010.79
02/13/2020     1937                  Booster Fuels, Inc.                        Fuel Expenses                          4,316.50      4,316.50
02/13/2020     1938                  Booster Fuels, Inc.                        Fuel Expenses                          1,892.46      1,892.46
02/13/2020     1940           Crescenta Valley Water District                  Utility Expenses                         227.69        227.69
02/13/2020   Debit Card               Nates Cell Phone                         Phone Services                          1,447.66      1,447.66
02/13/2020   Debit Card                  ServerMania                        Dues & Subscriptions                         63.00         63.00
02/13/2020     1939                         Verizon                            Phone Services                          5,570.67      5,570.67
02/14/2020     ACH                            ADP                      Payroll Check Processing Fees                   3,724.61      3,724.61
02/14/2020     1943                  City of Hawthorne                              Citation                            132.00        132.00
02/14/2020     1945                  City of Los Angeles                            Citation                             93.00         93.00
02/14/2020     1942            Gallik, Bremer & Molloy, PC                    Professional Fees                         390.00        390.00
02/14/2020     1941                   Ridge Consulting                    Workers Compensation                         9,500.00      9,500.00
02/14/2020   Debit Card          Newport Urgent Care Inc                  Workers Compensation                          300.00        300.00
02/14/2020     1944              Transworld Systems Inc.                            Citation                             36.00         36.00
02/17/2020     1947                  City of Los Angeles                            Citation                             93.00         93.00
02/17/2020     1946                     Maria Estrada                 Other Expenses(Janitor Expenses)                  881.25        881.25
02/17/2020     1948                    Ring Central Inc.                       Phone Services                          4,430.43      4,430.43
02/18/2020   Debit Card            Amazon Prime on line                        Office Expenses                          459.43        459.43
02/18/2020   Debit Card            Amazon Prime on line                        Office Expenses                         1,151.96      1,151.96
02/18/2020   Debit Card            Amazon Prime on line                        Office Expenses                           18.08         18.08
02/18/2020     1950                          DMV                         Employee Background Test                        9.00          9.00
02/18/2020     ACH                      Harland Clarke                         Office Expenses                          245.14        245.14
02/18/2020   Debit Card                     Indeed                         Recruitment Expenses                         500.24        500.24
02/18/2020   Debit Card                     Indeed                         Recruitment Expenses                         504.85        504.85
02/18/2020     Wire                       Innovative                      Workers Compensation                        55,489.73     55,489.73
02/18/2020     1949       Paramount Exclusive Insurance Services               WC Broker fees                          4,166.67      4,166.67
02/18/2020     Wire                      PEX Holding                            Fuel Expenses                         30,000.00     30,000.00
02/18/2020   Deduction                Wells Fargo Bank                            Bank Fees                              30.00         30.00
02/18/2020   Deduction                Wells Fargo Bank                            Bank Fees                              30.00         30.00
02/18/2020   Deduction                Wells Fargo Bank                            Bank Fees                              30.00         30.00
02/18/2020     Wire                   Wells Fargo Bank                              Payroll              690,213.00                 690,213.00
02/18/2020     Wire                   Wells Fargo Bank                                Tax                235,697.00                 235,697.00
02/18/2020     Wire             West Coast Stock Transfer                      BK Related Fees                         3,000.00      3,000.00
02/19/2020   Debit Card            Amazon Prime on line                        Office Expenses                           52.95         52.95
02/19/2020     Wire                  Hertz Corporation                        Vehicle Expenses                        149,118.37    149,118.37
02/19/2020     Wire             Hillair Capital Management             Per Cash collateral stipulation                40,000.00     40,000.00
02/19/2020   Deduction                Wells Fargo Bank                            Bank Fees                              30.00         30.00
02/19/2020   Deduction                Wells Fargo Bank                            Bank Fees                              30.00         30.00
02/20/2020   Debit Card            Amazon Prime on line                        Office Expenses                           55.06         55.06
02/20/2020   Debit Card            Amazon Prime on line                        Office Expenses                           58.80         58.80
02/20/2020   Debit Card            Amazon Prime on line                        Office Expenses                           88.00         88.00
02/20/2020     1952                  Booster Fuels, Inc.                        Fuel Expenses                          2,606.33      2,606.33
02/20/2020     1953                  Booster Fuels, Inc.                        Fuel Expenses                          1,758.03      1,758.03
02/20/2020     1954                  Booster Fuels, Inc.                        Fuel Expenses                          1,785.08      1,785.08
02/20/2020     1955                  Booster Fuels, Inc.                        Fuel Expenses                          1,612.06      1,612.06
02/20/2020     1956                  Booster Fuels, Inc.                        Fuel Expenses                          5,603.46      5,603.46
02/20/2020     1957                  Booster Fuels, Inc.                        Fuel Expenses                          3,913.37      3,913.37
02/20/2020     1958                  Booster Fuels, Inc.                        Fuel Expenses                          3,786.93      3,786.93
02/20/2020   Debit Card                     Indeed                         Recruitment Expenses                         500.77        500.77
02/20/2020   Debit Card             Live Agent Recurring                    Dues & Subscriptions                        469.00        469.00
02/20/2020     1951                    Nadine Miranda                          Travel Expenses                           79.76         79.76
02/20/2020   Debit Card                      USPS                      Shipping and delivery expense                     15.50         15.50
02/21/2020     ACH                            ADP                      Payroll Check Processing Fees                     20.00         20.00
02/21/2020     ACH                            ADP                      Payroll Check Processing Fees                    332.40        332.40
02/21/2020   Debit Card            Amazon Prime on line                        Office Expenses                           5.00          5.00
02/21/2020   Debit Card            Amazon Prime on line                        Office Expenses                           14.00         14.00
02/24/2020   Debit Card            Amazon Prime on line                        Office Expenses                          476.00        476.00
02/24/2020   Debit Card            Amazon Prime on line                        Office Expenses                           8.00          8.00
02/24/2020   Debit Card                    Dropbox                          Dues & Subscriptions                         19.99         19.99

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   02/24/2020         1964               Dusk to Dawn Urgent Care                     Workers Compensation                                    180.00        180.00
   02/24/2020         1959                     Force 10 Partners                          BK Related Fees                                   25,000.00     25,000.00
   02/24/2020       Debit Card                        Indeed                           Recruitment Expenses                                   500.35        500.35
   02/24/2020         1960                           LNBY&B                               BK Related Fees                                   12,500.00     12,500.00
   02/24/2020         Wire                         PEX Holding                             Fuel Expenses                                    30,000.00     30,000.00
   02/24/2020         1961                 Premier Specialties, Inc.                  Workers Compensation                                    263.51        263.51
   02/24/2020       Debit Card                    ServerMania                          Dues & Subscriptions                                    63.00         63.00
   02/24/2020       Debit Card                      SignNow                               Office Expenses                                     180.00        180.00
   02/24/2020         1962              Sports Medicine Assoc Of SA                   Workers Compensation                                    210.69        210.69
   02/24/2020       Deduction                  Wells Fargo Bank                              Bank Fees                                         30.00         30.00
   02/25/2020         Wire                DW Harrow & Assoc LLC                           BK Related Fees                                    2,000.00      2,000.00
   02/25/2020       Debit Card                        Indeed                           Recruitment Expenses                                   507.46        507.46
   02/25/2020       Debit Card                 Rackspace Cloud                         Dues & Subscriptions                                   920.89        920.89
   02/25/2020         1965                Ready Refresh by Nestle                         Office Expenses                                     135.90        135.90
   02/25/2020       Debit Card                         USPS                        Shipping and delivery expense                               7.75          7.75
   02/25/2020       Deduction                  Wells Fargo Bank                              Bank Fees                                         30.00         30.00
   02/26/2020       Debit Card              Adobe Creative Cloud                       Dues & Subscriptions                                    24.99         24.99
   02/26/2020       Debit Card              Amazon Prime on line                          Office Expenses                                     541.00        541.00
   02/26/2020         1967                  Grobstein Teeple, LLP                         BK Related Fees                                    2,500.00      2,500.00
   02/26/2020         Wire                    Hertz Corporation                          Vehicle Expenses                                   155,948.39    155,948.39
   02/26/2020         Wire               Hillair Capital Management                Per Cash collateral stipulation                          40,000.00     40,000.00
   02/26/2020         1966                    Lockton Insurance                              Insurance                                      71,582.00     71,582.00
   02/26/2020       Deduction                  Wells Fargo Bank                              Bank Fees                                         30.00         30.00
   02/26/2020       Deduction                  Wells Fargo Bank                              Bank Fees                                         30.00         30.00
   02/27/2020         ACH                               ADP                        Payroll Check Processing Fees                            14,552.96     14,552.96
   02/27/2020         1974                      Beverly Hospital                      Workers Compensation                                   1,014.00      1,014.00
   02/27/2020         1969                    Booster Fuels, Inc.                          Fuel Expenses                                     3,982.54      3,982.54
   02/27/2020         1970                    Booster Fuels, Inc.                          Fuel Expenses                                     1,513.58      1,513.58
   02/27/2020         1971                    Booster Fuels, Inc.                          Fuel Expenses                                     2,239.78      2,239.78
   02/27/2020         1972                    Booster Fuels, Inc.                          Fuel Expenses                                     4,792.30      4,792.30
   02/27/2020         1973                    Booster Fuels, Inc.                          Fuel Expenses                                     4,251.72      4,251.72
   02/27/2020       Debit Card                   Incorp Services                          Office Expenses                                     139.00        139.00
   02/27/2020       Debit Card                        Indeed                           Recruitment Expenses                                   501.18        501.18
   02/27/2020       Debit Card                      Mailchimp                             Office Expenses                                      34.99         34.99
   02/27/2020         1968                         SuperVision                      Employee Background Test                                  229.50        229.50
   02/28/2020         ACH                               ADP                        Payroll Check Processing Fees                             2,828.47      2,828.47
   02/28/2020         1976                       Haik Madoyan                             Reimbursement                                       164.42        164.42
   02/28/2020         1979                     Ridge Consulting                       Workers Compensation                                   3,500.00      3,500.00
   02/28/2020       Debit Card                 Parking Concepts                          Parking Expenses                                      16.00         16.00
   02/28/2020         Wire                         PEX Holding                             Fuel Expenses                                     5,000.00      5,000.00
   02/28/2020         1977                         SuperVision                      Employee Background Test                                   88.00         88.00
   02/28/2020         1975                Transworld Systems Inc.                             Citation                                         36.00         36.00
   02/28/2020         1978                         WCMD, Inc                          Workers Compensation                                   4,875.00      4,875.00
   02/28/2020       Deduction                  Wells Fargo Bank                              Bank Fees                                         30.00         30.00


                                                                              TOTAL DISBURSEMENTS THIS PERIOD:                  1,934,646     1,224,712     3,159,358

* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.




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                                                         GENERAL ACCOUNT
                                                        BANK RECONCILIATION

                           Bank statement Date:                2/29/2020      Balance on Statement:       2,136,435

Plus deposits in transit (a):

                                                       Deposit Date           Deposit Amount



TOTAL DEPOSITS IN TRANSIT                                                                                         0

Less Outstanding Checks (a):
                           Check Number                 Check Date            Check Amount
                                 1003                         05/15/2019                          151
                                 1024                         05/21/2019                           23
                                 1029                         05/21/2019                           28
                                 1045                         05/24/2019                        1,496
                                 1074                         05/29/2019                          302
                                 1151                         06/06/2019                           27
                                 1287                         07/02/2019                        2,000
                                 1740                         12/04/2019                            8
                                 1852                         01/15/2020                          400
                                 1910                         02/04/2020                       12,200
                                 1942                         02/14/2020                          390
                                 1961                         02/24/2020                          264
                                 1964                         02/24/2020                          180
                                 1965                         02/25/2020                          136
                                 1966                         02/26/2020                       71,582
                                 1967                         02/26/2020                        2,500
                                 1968                         02/27/2020                          230
                                 1969                         02/27/2020                        3,983
                                 1970                         02/27/2020                        1,514
                                 1971                         02/27/2020                        2,240
                                 1972                         02/27/2020                        4,792
                                 1973                         02/27/2020                        4,252
                                 1974                         02/27/2020                        1,014
                                 1975                         02/28/2020                           36
                                 1977                         02/28/2020                           88
                                 1978                         02/28/2020                        4,875
                                 1979                         02/28/2020                        3,500

TOTAL OUTSTANDING CHECKS:                                                                                  118,210

Bank statement Adjustments:
Explanation of Adjustments-



ADJUSTED BANK BALANCE:                                                                                    2,018,226

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




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                                                     I. CASH RECEIPTS AND DISBURSEMENTS
                                                             B. (PAYROLL ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS                                                    13,171,323

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL                                                         13,147,644
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                           23,679

4. RECEIPTS DURING CURRENT PERIOD:                                                                          1,445,904
     (Transfer from General Account)

5. BALANCE:                                                                                                 1,469,583

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                    1,446,742

7. ENDING BALANCE:                                                                                              22,841

8.   PAYROLL Account Number(s):                                                ******8415


                                                                               DIP Payroll Wells Fargo
                                                                               3200 Foothill, Blvd.
     Depository Name & Location:                                               La Crescenta, CA 91214




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                   TOTAL DISBURSEMENTS FROM PAYROLL ACCOUNT FOR CURRENT PERIOD

   Date        Check
mm/dd/yyyy    Number                Payee                       Purpose           Amount
02/03/2020      817        Amanda Villegas                     Payroll             351.16
02/03/2020      818          Marshall Rojas                    Payroll            1,084.30
02/03/2020      819             Kathy Hicks                    Payroll            1,837.50
02/03/2020      820             Kathy Hicks                    Payroll               700
02/03/2020      821               Edgar Lee                    Payroll             879.22
02/03/2020      822             luis Valdivia                  Payroll             204.58
02/03/2020      823        Joshua Cresswell                    Payroll             339.18
02/03/2020   Deduction     Wells Fargo Bank                    Bank Fees              5
02/03/2020     Wire                  ADP                       Payroll           729,859.58
02/04/2020     Wire                  ADP                       Payroll            6,285.25
02/04/2020   Deduction     Wells Fargo Bank                    Bank Fees              5
02/05/2020      824        Jaime Hernandez                     Payroll            1,297.63
02/05/2020      825              Yoni Tapia                    Payroll            1,271.33
02/05/2020      826       Dorinda Lattimore                    Payroll              67.04
02/05/2020      827           Rashan Harris                    Payroll              87.68
02/05/2020      828         Tervell Swafford                   Payroll             517.51
02/05/2020      829           Sergio Castro                    Payroll             504.38
02/06/2020      830           Anthony Felix                    Payroll             384.53
02/06/2020      831              Ricky Tapia                   Payroll              61.85
02/06/2020      832         Teshaun Mathis                     Payroll             977.64
02/06/2020      832         Derriasia Scales                   Payroll             391.00
02/07/2020      834             Blanal Cook                    Payroll             272.06
02/07/2020      835       Gabriel Maravillas                   Payroll             259.92
02/07/2020      836               Sena Fox                     Payroll             611.34
02/07/2020      837              David Reid                    Payroll             282.15
02/10/2020      838              Shon Sims                     Payroll             521.22
02/10/2020      839          Diego Vasquez                     Payroll             588.63
02/11/2020      840          Evan Schrepfer                    Payroll              32.54
02/11/2020      841           Jerry Morton                     Payroll              65.97
02/11/2020      842          Edgar Somoza                      Payroll             402.30
02/11/2020      843             Brian Prieto                   Payroll              555.6
02/11/2020      844            jesus Roman                     Payroll             397.03
02/12/2020      845          Kevin Orellana                    Payroll             247.68
02/12/2020      846           Jerry Morton                     Payroll             109.25
02/13/2020      847           Theda Chavez                     Payroll             617.14
02/13/2020      848              Juan Rivas                    Payroll             700.73
02/14/2020      849             Josue Rojas                    Payroll             595.65
02/14/2020      850      Oscar Pena Martinez                   Payroll             590.64
02/17/2020      851          Ronal Miranda                     Payroll              84.75
02/17/2020      852       Glenroy McDonald                     Payroll             473.79
02/17/2020      853             Kathy Hicks                    Payroll            1,837.50
02/17/2020      854             Kathy Hicks                    Payroll               640
02/17/2020      855          Emily Olivares                    Payroll            2,574.00
02/18/2020      857       Dawit Shewarega                      Payroll             138.52
02/18/2020   Deduction     Wells Fargo Bank                    Bank Fees              5
02/18/2020     Wire                  ADP                       Payroll           677,005.65
02/19/2020   Deduction     Wells Fargo Bank                    Bank Fees             5.00
02/19/2020     Wire                  ADP                       Payroll            6,160.66
02/20/2020      858         David Jeronimo                     Payroll             125.24
02/21/2020      859         Willie Tlatenchi                   Payroll             207.11
02/21/2020      860       Taswanna Carroll                     Payroll             728.38
02/24/2020      861             Jose Barajas                   Payroll             130.19
02/24/2020      862             Jose Barajas                   Payroll             373.24

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02/24/2020   863      Richard Hernandez                    Payroll                    431.85
02/24/2020   864       Valerie Carrasco                    Payroll                    434.83
02/25/2020   865        Nekeda Skinner                     Payroll                    369.24
02/25/2020   866       Bernard Bradford                    Payroll                     24.01
02/25/2020   867       Bernard Bradford                    Payroll                    411.43
02/27/2020   868      Garry Garcia-Manzo                   Payroll                    274.65
02/27/2020   869        John Hamilton                      Payroll                    346.22



                                                   TOTAL DISBURSEMENTS THIS PERIOD:      1,446,742




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                                                    PAYROLL ACCOUNT
                                                   BANK RECONCILIATION

                           Bank statement Date:            2/29/2020     Balance on Statement:      29,665

Plus deposits in transit (a):
                                                    Deposit Date           Deposit Amount



TOTAL DEPOSITS IN TRANSIT                                                                               -

Less Outstanding Checks (a):
                           Check Number              Check Date             Check Amount

                                  121                 6/26/2019                30.27
                                  173                 7/15/2019                156.15
                                  261                 8/8/2019                 32.54
                                  302                 8/21/2019                138.52
                                  305                 8/21/2019                20.79
                                  311                 8/21/2019                379.2
                                  387                 9/5/2019                 75.54
                                  396                 9/12/2019                32.55
                                  425                 9/24/2019                32.54
                                  426                 9/24/2019                32.55
                                  488                10/21/2019                43.59
                                  498                10/21/2019                 20.8
                                  535                10/21/2019                43.58
                                  547                10/21/2019                43.59
                                  556                10/21/2019                58.78
                                  562                10/21/2019                40.75
                                  566                10/21/2019                43.58
                                  582                10/21/2019                43.57
                                  583                10/21/2019                43.58
                                  594                10/23/2019                136.7
                                  660                11/20/2019                110.09
                                  661                11/20/2019                105.31
                                  665                11/20/2019                184.7
                                  672                11/20/2019                105.33
                                  679                11/20/2019                111.29
                                  685                11/20/2019                110.1
                                  687                11/20/2019                111.29
                                  688                11/20/2019                110.09
                                  708                 12/2/2019                743.88
                                  727                 12/2/2019                35.63
                                  765                12/30/2019                214.99
                                  798                 1/22/2020                346.22
                                  802                 1/23/2020                32.54
                                  832                 2/6/2020                  391
                                  835                 2/7/2020                 259.92
                                  852                 2/17/2020                473.79
                                  861                 2/24/2020                130.19
                                  862                 2/24/2020                373.24
                                  865                 2/25/2020                369.24
                                  866                 2/25/2020                24.01
                                  867                 2/25/2020                411.43
                                  868                 2/27/2020                274.65
                                  869                 2/27/2020                346.22


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TOTAL OUTSTANDING CHECKS:                                                                         6,824

Bank statement Adjustments:
Explanation of Adjustments-



ADJUSTED BANK BALANCE:                                                                           22,841
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




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                                          I. CASH RECEIPTS AND DISBURSEMENTS
                                                    C. (TAX ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR TAX ACCOUNT REPORTS                                         4,172,404

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR TAX                                              4,168,750
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                            3,655

4. RECEIPTS DURING CURRENT PERIOD:                                                           488,742
     (Transfer from General Account)
Other (Itemize):



5. BALANCE:                                                                                492,396.89

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
     TOTAL DISBURSEMENTS THIS PERIOD:***                                                     489,899

7. ENDING BALANCE:                                                                               2,498

8.   TAX Account Number(s):                            ******8399


                                                       DIP Taxes Wells Fargo
                                                       3200 Foothill, Blvd.
     Depository Name & Location:                       La Crescenta, CA 91214




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                              TOTAL DISBURSEMENTS FROM TAX ACCOUNT FOR CURRENT PERIOD

                     Check
Date mm/dd/yyyy     Number                 Payee                           Purpose                    Amount
   02/04/2020     wire        ADP                       Payroll Tax                                       253,060
   02/04/2020     Deduction   Wells Fargo Bank          Bank Charges                                             5
   02/19/2020     Deduction   Wells Fargo Bank          Bank Charges                                             5
   02/19/2020     wire        ADP                       Payroll Tax                                       226,519
   02/20/2020     Deduction   Wells Fargo Bank          Bank Charges                                             5
   02/20/2020     Deduction   Wells Fargo Bank          Bank Charges                                             5
   02/20/2020     wire        ADP                       Payroll Tax                                          2,309
   02/20/2020     wire        ADP                       Payroll Tax                                          7,991
                                                                   TOTAL DISBURSEMENTS THIS PERIOD:        489,899




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                                                         TAX ACCOUNT
                                                      BANK RECONCILIATION

                           Bank statement Date:                2/29/2020    Balance on Statement:          2,498

Plus deposits in transit (a):
                                                        Deposit Date          Deposit Amount



TOTAL DEPOSITS IN TRANSIT                                                                                     0

Less Outstanding Checks (a):
                           Check Number                 Check Date             Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                     0

Bank statement Adjustments:
Explanation of Adjustments-



ADJUSTED BANK BALANCE:                                                                                     2,498

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




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                                                     I. D SUMMARY SCHEDULE OF CASH

ENDING BALANCES FOR THE PERIOD:
                     (Provide a copy of monthly account statements for each of the below)

                                                             General Account:                   2,018,226
                                                              Payroll Account:                     22,841
                                                                 Tax Account:                       2,498
       *Other Accounts:


        *Other Monies:
                                                   **Petty Cash (from below):                            0

TOTAL CASH AVAILABLE:                                                                                                         2,043,565


Petty Cash Transactions:
          Date                       Purpose                                               Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                        0



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions




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                                              II. STATUS OF PAYMENTS TO SECURED CREDITORS, LESSORS
                                                    AND OTHER PARTIES TO EXECUTORY CONTRACTS


                                                 Frequency of Payments                                  Post-Petition payments
            Creditor, Lessor, Etc.                     (Mo/Qtr)              Amount of Payment           not made (Number)            Total Due
Hillair Capital                               Weekly                                      40,000                             0                       0
Parkway Commercial Realty                     Monthly                                      3,412                             0                       0
Three Two Seven Family Mmgt LLC               Monthly                                      2,335                             0                       0
Trust 5025983 LLC                             Monthly                                      2,000                             0                       0
Bulldog Commercial Real Estate                Monthly                                     10,500                             0                       0
ExtraSpaceStorage                             Monthly                                        140                             0                       0
The Hertz Corporation (1)                     Bi-Monthly                                 446,302                             2                 183,684 (1)
Lockton Companies, LLC                        Monthly                                     71,022                             0                       0
GTR Source LLC                                Monthly                                     27,663                             9                 248,965
Hop Capital                                   Monthly                                     37,978                             9                 341,804
Chrome Capital                                Unknown                                    350,000                       Unknown                 350,000 (2)
WG Fund                                       Monthly                                      2,722                             9                  24,499
Influx Capital LLC                            Monthly                                      3,427                             9                  30,846
NexGen Capital, LLC                           Monthly                                     28,210                             9                 253,886
                                                                                                                    TOTAL DUE:               1,433,684

(1) Historically, the total monthly amount due and owing Hertz, which fluctuates depending on van usage, was split into two (2) payments (roughly
85%/15%).

(2) Based upon the limited settlement documentation relating to Chrome Capital that the debtors are in possession of, it appears that the total
settlement amount was $350K, of which none was paid (although it is unclear whether and when any settlement payments were or are due, given
the lack of settlement documentation in this regard).


                                                                  III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                                                             Gross Sales Subject to Sales Tax:                    0.00
                                                                                                           Total Wages Paid:                 1,446,742

                                                                              Total Post-Petition                                  Date Delinquent
                                                                               Amounts Owing             Amount Delinquent          Amount Due
                                              Federal Withholding
                                              State Withholding
                                              FICA- Employer's Share
                                              FICA- Employee's Share
                                              Federal Unemployment
                                              Sales and Use
                                              Real Property
                                     Other:
                                                                   TOTAL:                           0                        0

(1) Hertz Corportion submitted a pre-petition amounts due that is materially different from $446,302 comparising of Tolls charges that were not billed to
the Debtor. Debtor is in the process of auditing all the amounts submitted to verify validity of amounts. It is likely that over $100k will be added to the
balance if Debtor can successfully reduce penalties for trivial toll charges that in some cases are $500 or $1,000 per toll charge.




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                                                               IV. AGING OF ACCOUNTS PAYABLE AND RECEIVABLE

                                                                                                                *Accounts Payable                 Accounts Receivable
                                                                                                                  Post-Petition             Pre-Petition        Post-Petition
                                                                                               Current                          416,903                  -            3,769,025
                                                                                           1 - 30 days                            5,589                  -                    -
                                                                                          31 - 60 days                           30,769                  -                    -
                                                                                          61 - 90 days                              -                    -                    -
                                                                                         91 - 120 days                              -                    -                    -
                                                                                        Over 120 days                           168,082                  -                    -
                                                                                               TOTAL:                           621,343                  -            3,769,025




                                                                            V. INSURANCE COVERAGE

                                                                                                                                          Policy Expiration      Premium Paid
                                  Type                                Name of Carrier                           Amount of Coverage              Date            Through (Date)
                     General Liability               Lockton Insurance Brokers, LLC                      $300k to $1M                              3/31/2020            3/1/2020
                     Worker's Compensation           Innovative (CA/IL)                                  No limit, w $10k deductible              Bi-Monthly           2/29/2020 (1)
                     Worker's Compensation           Self Insured in Texas                               Self Insured                              2/29/2020           2/29/2020 (1)
                     Vehicle                         Hertz                                               $0-300K                                    3/1/2020            3/1/2020 (2)
             Others: Umbrella                        First Insurance Funding                             $1M                                       9/15/2020            3/1/2020


                                                                  VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                                              (TOTAL PAYMENTS)

  Quarterly Period                                                                                                                                             Quarterly Fees Still
   Ending (Date)           Total Disbursements                       Quarterly Fees                                  Date Paid             Amount Paid              Owing
                                                                                                                                                                               -


                                                                                                                                                                                -
                                                                                                  -                                                      -                      -

(1) Beginning 2/15/2020, the Company added a full Workers' Compensation coverage for Texas, while lowering rates in CA from 14% to 10%, IL from 14% to 12% and Texas at 6%,
resulting in net absolute dollar value below the amount prior to acquiring Texas coverage. Company terminated Self Insured Workers' Compensation coverage as a result.
(2) Hertz agreed to extend the CY 2019 contract at current rates and to revisit on March 1 to finalize new contract, which has a higher premium, yet to be determined.




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                                         VII SCHEDULE OF COMPENSATION PAID TO INSIDERS


                                          Date of Order Authorizing                                        Gross Compensation
             Name of Insider                   Compensation              *Authorized Gross Compensation   Paid During the Month
George Voskanian                                  6/12/2019                     $25,000 / Month                           25,000
Scott Sheikh                                      6/12/2019                     $25,000 / Month                           25,000




                                       VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                          Date of Order Authorizing                                       Amount Paid During the
            Name of Insider                    Compensation                         Description                  Month




* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)
(1) Includes approved compensation per the underlying stipulation including catch-up amounts.




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                                                                 IX. PROFIT AND LOSS STATEMENT
                                                                       (ACCRUAL BASIS ONLY)




                                                                               2/1/2020 through
                                                                                  2/29/2020                 Cumulative Post-Petition
            Sales/Revenue:
                 Gross Sales/Revenue                                                  3,126,814.00                              38,032,615
                 Less: Returns/Discounts                                                        0                                        0
                                                       Net Sales/Revenue                3,126,814                               38,032,615

            Cost of Goods Sold:
                 Beginning Inventory at cost                                                      0                                       0
                 Purchases                                                                        0                                       0
                 Less: Ending Inventory at cost                                                   0                                       0
                                               Cost of Goods Sold (COGS)                          0                                       0

            Gross Profit                                                                 3,126,814                              38,032,615

                 Other Operating Income (Itemize)

            Operating Expenses:
                Payroll - Insiders                                                          55,000                                 610,866
                Payroll - Other Employees                                                1,580,573                              19,274,190
                Payroll Taxes                                                              169,692                               1,817,080
                Other Franchise Tax and Filing Fees (Itemize)                                    0                                   6,682
                Depreciation and Amortization                                                    0                                 106,110
                Rent Expense - Real Property                                                10,500                                 155,223
                Lease Expense - Personal Property                                                0                                       0
                Insurance                                                                  219,424                               2,288,619
                Tax Consulting Fees                                                         12,198                                  49,629
                Telephone and Utilities                                                     31,661                                 337,945
                Repairs and Maintenance                                                        400                                   9,018
                Travel and Entertainment (Itemize)                                           1,585                                  77,136
                Miscellaneous Operating Expenses (Itemize)                                 859,229                               8,845,589
                                                  Total Operating Expenses               2,940,261                              33,578,086

                                         Net Gain/(Loss) from Operations                   186,553                               4,454,529

            Non-Operating Income:
                Interest Income                                                                   0                                      19
                Net Gain on Sale of Assets (Itemize)                                              0                                       0
                Other (Itemize)                                                                   0                                       0
                                             Total Non-Operating income                           0                                      19

            Non-Operating Expenses:
                Interest Expense
                Legal and Professional (Itemize)
                    Debtor Counsel                                                         104,018                               1,829,606
                    Debtor CRO                                                              18,437                                 300,138
                    Committee Consel                                                        30,000                                 504,326
                    Board of Directors                                                       5,000                                  45,000
                    Secured Lender Counsel                                                  56,223                                 603,716
                    Debtor Advisor                                                               0                                 303,144
                    Committee Professionals                                                      0                                       0
                    Investment Banker                                                            0                                 300,000
                    US Trustee Fees                                                              0                                  67,114
                    Accrued US Trustee Fees                                                      0                                 241,839
                Other (Itemize)                                                                  0                                       0
                                        Total Non-Operating Expenses (1)                   213,678                               4,194,883

            NET INCOME/(LOSS)                                                              (27,125)                                259,665

            Itemized Miscellaneous Operating Expenses
                 Fuel Expense                                                              218,741                               2,691,307
                 Vehicle Expense (2)                                                       526,609                               4,972,534
                 Employment Counsel                                                              0                                       0
                 Office Supplies                                                            10,049                                 176,622
                 Driver Background Check                                                    11,141                                 149,547
                 Dues and Subscriptions                                                      6,060                                  58,395
                 Car Wash                                                                    2,622                                  46,089
                 Citation/Tolls                                                             42,265                                 266,697
                 Accidents                                                                       0                                   6,354
                 Bank Charges                                                                  580                                   9,511
                 Recruitment Expenses                                                        5,065                                  89,099
                 IT Expenses                                                                12,200                                 152,950
                 Other misc. OpEx (3)                                                       23,898                                 226,484
                 Total                                                                     859,229                               8,845,589

            (1) The identified amounts are estimates based upon discussions with the Debtors’ professionals, Committee counsel and
            counsel for Hillair, as applicable, and are subject to various orders, including but not limited to orders governing the use of
            cash collateral and orders approving the employment of the various professionals identified.
            (2) Includes ramped up December billing.
            (3) Includes $1,650 Janitorial expense, $21,458 Payroll Processing Fees and $790 shipping expense.


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                                                                                    X. BALANCE SHEET
                                                                                  (ACCRUAL BASIS ONLY)

ASSETS                                                                                                           Current Month End
   Current Assets:
   Unrestricted Cash                                                                                                      2,043,565
   Restricted Cash                                                                                                                0
   Accounts Receivable                                                                                                    3,769,025
   Inventory                                                                                                                      0
   Notes Receivable                                                                                                               0
   Prepaid Expenses                                                                                                         106,388 (1)
   Other (Itemize)                                                                                                                0
                                                                   Total Current Assets                                                                                       5,918,978

Property, Plant, and Equipment                                                                                            1,096,486
Accumulated Depreciation/Depletion                                                                                         (257,421)
                                                  Net Property, Plant, and Equipment                                                                                            839,065

Other Assets (Net of Amortization):
   Due from Insiders                                                                                                      1,887,751 (2)
   Other (Itemize)                                                                                                            7,174 (3)
                                                                     Total Other Assets                                                                                       1,894,925

TOTAL ASSETS                                                                                                                                                                  8,652,968

LIABILITIES
Post-petition Liabilities:
   Accounts Payable                                                                                                         621,344 (4)
   Taxes Payable                                                                                                                  0
   Notes Payable                                                                                                                  0
   Professional fees                                                                                                      1,472,102
   Secured Debt                                                                                                                   0
   Accrued Payroll                                                                                                          861,158
   Accrued Quarterly US Trustee Fees                                                                                              0
   Other (Itemize)(7)                                                                                                        81,271
                                                          Total Post-petition Liabilities                                                                                     3,035,874

Pre-petition Liabilities:
   Hillair Notes Payable due to Scoobeez Global                                                                          11,153,098 (5)
   Hillair (Per cash collateral stipulation)                                                                             (1,780,000) (5)
   Priority Liabilities                                                                                                           0
   Unsecured Liabilities                                                                                                 24,070,267 (6)
   Other (Itemize)                                                                                                          926,953
                                                           Total Pre-petition Liabilities                                                                                    34,370,318

TOTAL LIABILITIES                                                                                                                                                            37,406,192

EQUITY:
   Pre-petition Owners’ Equity                                                                                          (20,914,030)
   Post-petition Profit/(Loss)                                                                                              259,665
   Direct Charges to Equity                                                                                              (8,098,859)
TOTAL EQUITY                                                                                                                                                                (28,753,224)

TOTAL LIABILITIES & EQUITY                                                                                                                                                    8,652,968
                                                                                                                                                                                      0

(1) Includes deposits for fuel in the approximate amounts of $23K for Pex, $34K in prepaid insurance and $49k in security deposits and other.
(2) The amount "Due from Insiders" continues to be reviewed and this figure will be updated as necessary and appropriate based upon that review.
(3) This amount reflects primarily potential funds to be recovered from various merchant cash entities.
(4) Hertz ($316K), Booster ($19k), AT&T Mobility ($20K), Tolls ($203K), Innovative (55K), and various other accounts payable ($8K).
(5) Since the petition date the Debtor has paid $1,780K to Hillair Capital Management pursuant to certain cash collateral stipulations and orders, and said funds shall be applied in a
manner consistent therewith.
(6) The Pre-Petition Unsecured Liabilities include the balance due and owing Avitus as reflected in the Debtor(s)' pre-petition balance sheet(s) ($15,971,408) (the "Avitus Debt").
Although this figure is disputed by the Debtor(s), and inconsistent with the figure(s) included in the schedules filed by the Debtors (which the Debtors believe to be a more accurate
estimate of the amount actually due and owing Avitus), this figure is included herein in order to maintain consistency with the Debtor(s)' previous balance sheet(s). The CRO
continues to evaluate the true nature and amount of the Avitus Debt and will update it as necessary and appropriate. In addition, this figure includes $8,098,859 due and owing a
number of merchant cash advance entities pursuant to a global settlement by and among the Debtor and Scoobeez Global, on the one hand, and a number of merchant cash
entities on the other hand.




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                                                                           XI. QUESTIONNAIRE



1.   Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as have been authorized by the court? If "Yes",
     explain below:                                                                                                                                      No    Yes
     On or about 7/1/2019, $6,647 was paid to Shoushana Ohanessian as reimbursement for an advance of funds expended by Mrs. Ohanessian in
     order to revive Scoobur's corporate status. The debtor(s) are in the process of determining the manner in which to treat this payment and/or any
     claim(s) associated therewith.                                                                                                                            X


2.   Has the debtor-in-possession during this reporting period provided compensation or remuneration to any officers, directors, principals, or other
     insiders without appropriate authorization? If "Yes", explain below:                                                                                No    Yes

     See response to Question #1                                                                                                                               X

3.   State what progress was made during the reporting period toward filing a plan of reorganization
     On February 6, 2020, Debtor filed a Stipulation Between the Debtors and Sandra Collie for Limited Relief from the Automatic Stay; the Court
     entered an order thereon on February 7, 2020. On February 14, 2020, Debtors filed Chapter 11 Joint Plan of Reorganization as Proposed By the
     Debtors, Hillair and the Official Committee of Unsecured Creditors. On February 21, 2020, Debtors filed a Motion to Assume Unexpired Non-
     Residential Lease of Real Property at 3463 Foothill, Glendale, California Pursuant To 11 U.S.C. § 365. On February 27, 2020, submitted its
     Disclosure Statement in Support of Chapter 11 Joint Plan of Reorganization Proposed By the Debtors, Hillair and the Official Committee of
     Unsecured Creditors; a hearing for approval of the Disclosure Statement is scheduled for April 9, 2020. On February 28, 2020, Debtor filed a
     Stipulation Between the Debtors and Arturo Vega and Unta Key for Limited Relief From the Automatic Stay to Proceed With State Court
     Settlement Approval.


4.   Describe potential future developments which may have a significant impact on the case:


     See answer to question #3.

5.   Attach copies of all Orders granting relief from the automatic stay that were entered during the reporting period.


6.   Did you receive any exempt income this month, which is not set forth in the operating report? If "Yes", please set forth the amounts and sources
     of the income below.                                                                                                                                No    Yes
                                                                                                                                                         X

     /s/ George Voskanian
I,   George Voskanian, CFO/Co-CEO
     declare under penalty of perjury that I have fully read and understood the foregoing debtor-in-possession operating report and that the
     information contained herein is true and complete to the best of my knowledge.




                                                                              Page 20 of 20
        Case 2:19-bk-14989-WB            Doc 693
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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP                                                    FILED & ENTERED
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500                                                      JAN 31 2020
        Email: amcdow@foley.com
    5          jsimon@foley.com                                                 CLERK U.S. BANKRUPTCY COURT
               smoses@foley.com                                                 Central District of California
    6                                                                           BY kaaumoanDEPUTY CLERK


    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,                          CHANGES MADE BY COURT
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                              Case No. 2:19-bk-14989-WB
  13        In re:                                            Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                              Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                          ORDER APPROVING STIPULATION
  17                                                          BETWEEN THE DEBTORS AND AMAZON
            ■ All Debtors                                     LOGISTICS, INC. FOR LIMITED RELIEF
  18                                                          FROM THE AUTOMATIC STAY
            □ Scoobeez, ONLY
  19                                                          Hearing:
            □ Scoobeez Global, Inc., ONLY                     Date: February 4, 2020
  20        □ Scoobur LLC, ONLY                               Time: 10:00 a.m.
                                                              Place: Courtroom 1375
  21                                                          U.S. Bankruptcy Court, 255 East Temple Street
                                                              Los Angeles, CA 90012
  22

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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

4833-8258-0398.1
        Case 2:19-bk-14989-WB            Doc 693
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    1              The Court having reviewed and considered the Stipulation Between the Debtors and Amazon
    2   Logistics, Inc. For Limited Relief From the Automatic Stay, filed on January 28, 2019 [Docket No. 567]
    3   the “Stipulation”), as between movant Amazon Logistics, Inc. (the “Movant”) and Scoobeez, Scoobeez
    4   Global, Inc. and Scoobur, LLC, the debtors in the above-captioned Chapter 11 bankruptcy cases
    5   (collectively, the “Debtors”), and the Notice of Motion and Motion for Relief from the Automatic Stay
    6   under 11 U.S.C. § 362 [Doc. No. 534], filed by the Movant on January 9, 2020 (the “Motion”), and good
    7   cause appearing therefor,
    8              IT IS HEREBY ORDERED that:
    9              1.     The Stipulation is approved.
  10               2.     The automatic stay is hereby modified to allow the State Court Action (as defined in the
  11    Stipulation), to proceed to final judgment, provided that the stay shall remain in effect with respect to
  12    enforcement of any judgment against the Debtor or property of the Debtors’ bankruptcy estates, except
  13    as to any applicable insurance coverage.
  14               3.     As to the State Court Action and claims based on the State Court Action, Movant waives
  15    any deficiency or other claim against the Debtors or property of the Debtors’ bankruptcy estates except
  16    as to recovery from applicable insurance.
  17               4.     To the extent that the Movant or the State Court Action plaintiff asserts a claim in the
  18    bankruptcy case for payment of any amounts or obligations related to the State Court Action that are not
  19    covered by applicable insurance, this Order is without prejudice to the Debtors’ rights to object to any
  20    such claim.
  21               5.     The scope of this Order is limited to the State Court Action and claims based thereon, and
  22    is without prejudice to the rights of the Parties as to any other matters.
  23               6.     Sufficient notice of the Movant’s motion having been provided, no further notice is
  24    required pursuant to F.R.B.P. 4001(d) or otherwise.
  25               7.     The automatic stay shall remain in effect except to the extent of the relief specifically
  26    granted herein.
  27               8.     The hearing on the Motion currently scheduled for February 4, 2020, at 10:00 a.m. shall
  28    be taken off calendar.

                                                     ORDER APPROVING STIPULATION FOR LIMITED RELIEF FROM STAY
                                                           -1-                         Case No. 2:19-bk-14989-WB
4833-8258-0398.1
        Case 2:19-bk-14989-WB           Doc 693
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    1              9.   The Court shall retain jurisdiction over any disputes arising from or related to this Order
    2   or the Stipulation.
    3   APPROVED AS TO FORM:
    4
          Dated: January 31, 2020                         MORGAN, LEWIS & BOCKIUS LLP
    5

    6
                                                          Richard W. Esterkin
    7
                                                          Attorneys for Amazon Logistics, Inc.
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  24           Date: January 31, 2020

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                                                                                         PleadingTitleShort
                                                                               Case No. 2:19-bk-14989-WB
                                                                                     Jointly Administered:
                                                         -2-         2:19-bk-14991-WB; 2:19-bk-14997-WB
4833-8258-0398.1
Case 2:19-bk-14989-WB   Doc 693
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    Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
    Nos., State Bar No. & Email Address                                                                     FILED & ENTERED
    RICHARD W. ESTERKIN (07069)
    MORGAN, LEWIS & BOCKIUS LLP
    300 South Grand Avenue, Suite 2200                                                                              FEB 05 2020
    Los Angeles, California 90071
    Telephone: 213.612.2500
    FAX: 213.612.2501                                                                                         CLERK U.S. BANKRUPTCY COURT
                                                                                                              Central District of California
    E-mail: richard.esterkin@morganlewis.com                                                                  BY kaaumoanDEPUTY CLERK




        Movant appearing without an attorney
        Attorney for Movant

                                              UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA LOS ANGELES DIVISION

    In re:                                                                       CASE NO.: 2:19-bk-14989-WB
                                                                                          [Jointly administered with 2:19-bk-14991-WB
                                                                                          and 2:19-bk-17997-WB]
    SCOOBEEZ, et al.1
                                                                                 CHAPTER: 11
    Affects:                                                                             ORDER GRANTING MOTION FOR
    ■ All Debtors                                                                      RELIEF FROM THE AUTOMATIC STAY
    □ Scoobeez, ONLY                                                                          UNDER 11 U.S.C. § 362
    □ Scoobeez Global, Inc., ONLY
    □ Scoobur LLC, ONLY                                                                  (Action in Nonbankruptcy Forum)

                                                                                 DATE: February 4, 2020
                                                                                 TIME: 10:00 a.m.
                                                                                 COURTROOM: 1375
                                                                                 PLACE: United States Bankruptcy Court
                                                                                           255 East Temple Street
                                                                                           Los Angeles, CA




                                                                 Debtor(s).

    MOVANTS: Amazon Logistics, Inc. and Amazon.com, Inc.

1. The Motion was:                     Opposed              Unopposed               Settled by stipulation

2. The Motion affects the following Nonbankruptcy Action:
                  Name of Nonbankruptcy Action: Vega, et al. v. Scoobeez, et al. and Key, et al. v. Scoobeez, et al.
                  Docket number: 37-2017-00018285-CU-OE-CTRL and 37-2017-00039527-CU-OE-CTRL
1
  The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc.
(9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard, in Glendale, California 91214.
             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2014                                                                  Page 1                                    F 4001-1.RFS.NONBK.ORDER
           Case 2:19-bk-14989-WB                    Doc 693
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                Nonbankruptcy court or agency where the Nonbankruptcy Action is pending: Superior Court of the State of
                   California for the County of San Diego
3.         The Motion is granted under 11 U.S.C. § 362(d)(1).

4. As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.        Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.        Modified or conditioned as set forth in paragraph 8 of the Attachment to the Motion.
      c.        Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                remedies regarding the nonbankruptcy action do not constitute a violation of the stay.

5. Limitations on Enforcement of Judgment: Movant may not proceed in the nonbankruptcy forum to final judgment
      (including any appeals) in accordance with applicable nonbankruptcy law. Movant is permitted to enforce its final
      judgment only by (specify all that apply):
      a.        Collecting upon any available insurance in accordance with applicable nonbankruptcy law.
      b.        Proceeding against the Debtor as to property or earnings that are not property of this bankruptcy estate.

6. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
   of the Bankruptcy Code.

7.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
           the same terms and conditions as to the Debtor.

8.         The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

9.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
           180 days, so that no further automatic stay shall arise in that case as to the nonbankruptcy action.
10.        This order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without
           further notice.
11.        Other (specify): None

                                                                            ###




                   Date: February 5, 2020




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2014                                                                Page 2                                    F 4001-1.RFS.NONBK.ORDER
        Case 2:19-bk-14989-WB            Doc 693
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    1
        Ashley M. McDow (245114)
    2   John A. Simon (admitted Pro Hac Vice)
        Shane J. Moses (250533)
                                                                               FILED & ENTERED
    3   FOLEY & LARDNER LLP
        555 S. Flower St., 33rd Floor                                                FEB 07 2020
    4   Los Angeles, CA 90071
        Telephone: 213.972.4500
    5   Email: amcdow@foley.com                                                 CLERK U.S. BANKRUPTCY COURT
               jsimon@foley.com                                                 Central District of California
    6          smoses@foley.com
                                                                                BY penning DEPUTY CLERK


    7
        Attorneys for Debtors and Debtors in
    8   Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
        INC., and SCOOBUR, LLC
    9
  10                               UNITED STATES BANKRUPTCY COURT
  11                                CENTRAL DISTRICT OF CALIFORNIA
  12                                         LOS ANGELES DIVISION
  13                                                          Case No. 2:19-bk-14989-WB
            In re:                                            Jointly Administered:
  14                                                          2:19-bk-14991-WB; 2:19-bk-14997-WB
            SCOOBEEZ, et al.1
  15                                                          Chapter 11
                       Debtors and Debtors in Possession.
  16

  17        Affects:                                          ORDER APPROVING STIPULATION
                                                              BETWEEN THE DEBTORS AND SANDRA
  18        ■ All Debtors                                     COLLIE FOR LIMITED RELIEF FROM
                                                              THE AUTOMATIC STAY
  19        □ Scoobeez, ONLY
                                                              Hearing:
  20        □ Scoobeez Global, Inc., ONLY                     Date: February 11, 2020
                                                              Time: 10:00 a.m.
  21        □ Scoobur LLC, ONLY                               Place: Courtroom 1375
                                                                     U.S. Bankruptcy Court
  22                                                                 255 East Temple Street
                                                                     Los Angeles, CA 90012
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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

4831-8188-9459.1
        Case 2:19-bk-14989-WB            Doc 693
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    1              The Court having reviewed and considered the Stipulation Between the Debtors and Sandra
    2   Collie For Limited Relief From the Automatic Stay, filed on February 6, 2020 [Docket No. 588] (the
    3   “Stipulation”), as between movant Sandra Collie (the “Movant”) and Scoobeez, Scoobeez Global, Inc.
    4   and Scoobur, LLC, the debtors in the above-captioned Chapter 11 bankruptcy cases (collectively, the
    5   “Debtors”), and the Notice of Motion and Motion for Relief from the Automatic Stay under 11 U.S.C.
    6   § 362 [Doc. No. 558], filed by the Movant on January 21, 2020, (the “Motion”), and good cause
    7   appearing therefor,
    8              IT IS HEREBY ORDERED that:
    9              1.     The Stipulation is approved.
  10               2.     The Movant is hereby granted relief from stay for the purposes of prosecuting the State
  11    Court Action (as defined in the Stipulation), provided that any recovery shall be against insurance only
  12    and that Movant shall not be entitled to any deficiency or other claim against the Debtors or property of
  13    the Debtors’ bankruptcy estates except as to recovery from applicable insurance.
  14               3.     Sufficient notice of the Movant’s motion having been provided, no further notice is
  15    required pursuant to F.R.B.P. 4001(d) or otherwise.
  16               4.     The 14-day stay pursuant to FRBP 4001(a)(3) is hereby waived.
  17               5.     The automatic stay shall remain in effect except to the extent of the relief specifically
  18    granted herein.
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                                                     ORDER APPROVING STIPULATION FOR LIMITED RELIEF FROM STAY
                                                            -1-                        Case No. 2:19-bk-14989-WB
4831-8188-9459.1
        Case 2:19-bk-14989-WB           Doc 693
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    1              6.   The hearing on the Motion currently scheduled for February 11, 2020, at 10:00 a.m. shall
    2   be taken off calendar.
    3              7.   The Court shall retain jurisdiction over any disputes arising from or related to this Order
    4   or the Stipulation.
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  24           Date: February 7, 2020

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                                        ORDER APPROVING STIPULATION FOR LIMITED RELIEF FROM STAY
                                                                            Case No. 2:19-bk-14989-WB
                                                                                  Jointly Administered:
                                                         -2-      2:19-bk-14991-WB; 2:19-bk-14997-WB
4831-8188-9459.1
        Case 2:19-bk-14989-WB            Doc 693
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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP                                                    FILED & ENTERED
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500                                                      MAR 02 2020
        Email: amcdow@foley.com
    5          jsimon@foley.com                                                 CLERK U.S. BANKRUPTCY COURT
               smoses@foley.com                                                 Central District of California
    6                                                                           BY kaaumoanDEPUTY CLERK


    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                             Case No. 2:19-bk-14989-WB
  13        In re:                                           Jointly Administered:
                                                             2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                             Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                         ORDER APPROVING STIPULATION
  17                                                         BETWEEN THE DEBTORS AND ARTURO
            ■ All Debtors                                    VEGA AND UNTA KEY FOR LIMITED
  18                                                         RELIEF FROM THE AUTOMATIC STAY
            □ Scoobeez, ONLY                                 TO PROCEED WITH STATE COURT
  19                                                         SETTLEMENT APPROVAL
            □ Scoobeez Global, Inc., ONLY
  20                                                         Hearing:
            □ Scoobur LLC, ONLY                              Date: March 3, 2020
  21                                                         Time: 10:00 a.m.
                                                             Place: Courtroom 1375
  22                                                                U.S. Bankruptcy Court
                                                                    255 East Temple Street
  23                                                                Los Angeles, CA 90012

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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

4851-2369-8870.1
        Case 2:19-bk-14989-WB            Doc 693
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    1              The Court having reviewed and considered the Stipulation between the Debtors and Arturo Vega
    2   and Unta Key for Limited Relief from the Automatic Stay to Proceed with State Court Settlement
    3   Approval, filed on February 28, 2020 [Docket No. 639] (the “Stipulation”), as between movants Arturo
    4   Vega and Unta Key (the “Movants”) and Scoobeez, Scoobeez Global, Inc. and Scoobur, LLC, the
    5   debtors in the above-captioned Chapter 11 bankruptcy cases (collectively, the “Debtors” and together
    6   with the Movants, the “Parties”), and the Motion for Relief from the Automatic Stay under 11 U.S.C.
    7   § 362 [Docket No. 156] (the “Motion”), filed by the Movants on July 22, 2019, and good cause
    8   appearing therefor,
    9              IT IS HEREBY ORDERED that:
  10               1.     The Stipulation is approved.
  11               2.     The automatic stay pursuant to 11 U.S.C. § 362 is hereby modified to the limited extent
  12    necessary for the parties to the PAGA Actions (as defined in the Stipulation) to proceed with the class
  13    action approval process for the Settlement in the state court overseeing the PAGA Actions, including for
  14    the entry of any orders or stipulations necessary for the settlement approval process in the PAGA
  15    Actions.
  16               3.     The automatic stay shall remain in effect except to the extent of the relief specifically
  17    granted herein, pending further order of this Court.
  18               4.     The Hearing on the Motion currently scheduled for March 3, 2020, at 10:00 a.m. shall be
  19    taken off calendar.
  20               5.     Sufficient notice of the Movant’s motion having been provided, no further notice is
  21    required pursuant to F.R.B.P. 4001(d) or otherwise.
  22               6.     This order shall be without prejudice to the Movants re-filing a motion for relief from
  23    stay if the state Court does not grant preliminary or final approval of the Settlement.
  24    //
  25    //
  26    //
  27    //
  28    //

                                                     ORDER APPROVING STIPULATION FOR LIMITED RELIEF FROM STAY
                                                            -1-                        Case No. 2:19-bk-14989-WB
4851-2369-8870.1
        Case 2:19-bk-14989-WB          Doc 693
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    1              7.   This Court shall retain jurisdiction over any disputes arising from or related to this Order
    2   or the Stipulation.
    3                                                       ###
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  24           Date: March 2, 2020

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                                                                                      PleadingTitleShort
                                                                            Case No. 2:19-bk-14989-WB
                                                                                  Jointly Administered:
                                                         -2-      2:19-bk-14991-WB; 2:19-bk-14997-WB
4851-2369-8870.1
